 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                  Western District of Texas

 Case number (If known):                              Chapter you are filing under:
                                                      ✔
                                                      ❑         Chapter 7
                                                      ❑         Chapter 11
                                                      ❑         Chapter 12
                                                      ❑         Chapter 13                                                                           ❑Check if this is an
                                                                                                                                                          amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                    12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Rucker                                                            Kate
       government-issued picture                   First name                                                       First name
       identification (for example, your
       driver’s license or passport).
                                                   Middle name                                                      Middle name
       Bring your picture identification to        Olive                                                             Olive
       your meeting with the trustee.              Last name                                                        Last name


                                                   Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                                   First name                                                       First name
       Include your married or maiden
       names.                                      Middle name                                                      Middle name


                                                   Last name                                                        Last name




                                                   First name                                                       First name


                                                   Middle name                                                      Middle name


                                                   Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                   xxx - xx - 6        2       7   1                                xxx - xx - 8         8       8    1
       Social Security number or
       federal Individual Taxpayer                 OR                                                               OR
       Identification number                       9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
 Debtor 1                    Rucker                                          Olive                                             Case number (if known)
 Debtor 2                    Kate                                            Olive
                             First Name            Middle Name                Last Name




                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                   ✔I have not used any business names or EINs.
                                                                                                              ❑
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                       Business name
       business as names

                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          10127 CEDARCLIFF
                                          Number             Street                                           Number            Street




                                          SAN ANTONIO, TX 78245
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          Bexar
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ✔
                                                                                                              ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
 Debtor 1                   Rucker                                        Olive                                             Case number (if known)
 Debtor 2                   Kate                                          Olive
                            First Name           Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑     Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ❑     Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
 Debtor 1                      Rucker                                            Olive                                        Case number (if known)
 Debtor 2                      Kate                                              Olive
                               First Name             Middle Name                Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ✔
                                              ❑   Yes. Name and location of business

      A sole proprietorship is a business         OLIVE BOOKKEEPING SERVICE
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.         10127 CEDARCLIFF
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.
                                                  SAN ANTONIO                                                TX            78245
                                                  City                                                       State        ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  ✔
                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                     Number         Street




                                                                                         City                                            State               ZIP Code




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
 Debtor 1                    Rucker                                           Olive                                            Case number (if known)
 Debtor 2                    Kate                                             Olive
                             First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔                                                                     ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
 Debtor 1                       Rucker                                            Olive                                            Case number (if known)
 Debtor 2                       Kate                                              Olive
                                First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                               16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                     an individual primarily for a personal, family, or household purpose.”
      have?
                                                     ❑      No. Go to line 16b.
                                                     ✔
                                                     ❑      Yes. Go to line 17.

                                               16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                    business or investment or through the operation of the business or investment.

                                                     ❑      No. Go to line 16c.

                                                     ❑      Yes. Go to line 17.

                                               16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?           ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any            ✔
                                                ❑    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                         expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                              ✔
                                                               ❑    No
      available for distribution to
      unsecured creditors?                                     ❑    Yes

                                                 ✔
                                                 ❑   1-49                         ❑       1,000-5,000                            ❑    25,001-50,000
  18. How many creditors do you                  ❑   50-99                        ❑       5,001-10,000                           ❑    50,000-100,000
                                                 ❑                                ❑                                              ❑
      estimate that you owe?
                                                     100-199                              10,001-25,000                               More than 100,000
                                                 ❑   200-999

                                                 ❑   $0-$50,000                       ❑       $1,000,001-$10 million                   ❑      $500,000,001-$1 billion
  19. How much do you estimate                   ❑   $50,001-$100,000                 ❑       $10,000,001-$50 million                  ❑      $1,000,000,001-$10 billion
      your assets to be worth?
                                                 ✔
                                                 ❑   $100,001-$500,000                ❑       $50,000,001-$100 million                 ❑      $10,000,000,001-$50 billion
                                                 ❑   $500,001-$1 million              ❑       $100,000,001-$500 million                ❑      More than $50 billion

                                                 ❑   $0-$50,000                       ❑       $1,000,001-$10 million                   ❑      $500,000,001-$1 billion
  20. How much do you estimate                   ❑   $50,001-$100,000                 ❑       $10,000,001-$50 million                  ❑      $1,000,000,001-$10 billion
      your liabilities to be?
                                                 ✔
                                                 ❑   $100,001-$500,000                ❑       $50,000,001-$100 million                 ❑      $10,000,000,001-$50 billion
                                                 ❑   $500,001-$1 million              ❑       $100,000,001-$500 million                ❑      More than $50 billion

 Part 7: Sign Below


  For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                    If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                    Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                    If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                    obtained and read the notice required by 11 U.S.C. § 342(b).
                                    I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                    I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                    can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                      ✘ /s/ Rucker Olive                                                       ✘ /s/ Kate Olive
                                             Rucker Olive, Debtor 1                                                    Kate Olive, Debtor 2
                                             Executed on 07/30/2018                                                    Executed on 07/30/2018
                                                             MM/ DD/ YYYY                                                             MM/ DD/ YYYY




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                        page 6
 Debtor 1                    Rucker                                       Olive                                             Case number (if known)
 Debtor 2                    Kate                                         Olive
                             First Name          Middle Name               Last Name



   For your attorney, if you are            I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                       under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                            which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an         in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this   filed with the petition is incorrect.
   page.

                                            ✘ /s/ John Chivis                                                        Date 07/30/2018
                                                John Chivis, Attorney                                                       MM / DD / YYYY




                                                John Chivis
                                                Printed name

                                                The Chivis Law Firm
                                                Firm name

                                                16620 San Pedro Avenue Suite 150
                                                Number      Street



                                                San Antonio                                                         TX        78258
                                                City                                                                State     ZIP Code



                                                Contact phone (888) 253-7002                                     Email address john@chivislaw.com


                                                24076312                                                            TX
                                                Bar number                                                          State




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
 Fill in this information to identify your case and this filing:

  Debtor 1                          Rucker                                                  Olive
                                   First Name                   Middle Name                Last Name

  Debtor 2                          Kate                                                    Olive
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                            Western District of Texas
                                                                                                                                                                                   ❑Check if this is an
  Case number                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     10127 CEDARCLIFF                                                What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the             Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                 portion you own?
              SAN ANTONIO, TX 78245                                          ❑ Land                                                                                  $180,000.00                     $180,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Bexar
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Homestead
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ✔ Check if this is community property
                                                                                                                                                          ❑
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $180,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
 Debtor 1                              Rucker                                                         Olive                                                            Case number (if known)
 Debtor 2                              Kate                                                           Olive
                                       First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   HYUNDAI                   Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   ACCENT GLS                ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2011                      ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                             Current value of the            Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   89500                                                                                                   entire property?                portion you own?
            Approximate mileage:                                                                                                                                         $3,500.00                      $3,500.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   NISSAN                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   PATHFINDER
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                   N/A                       ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                                             ❑ Debtor 1 and Debtor 2 only                                                  Current value of the            Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:                                  2018
                                                                                                                                                           entire property?                portion you own?
            Approximate mileage:                                                                                                                                        $26,000.00                     $26,000.00
                                                   1200
                                                                             ❑Check if this is community property (see
            Other information:                                                   instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                    ➜            $29,500.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                       Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.

 6. Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                See Attached.
                                                                                                                                                                                                        $2,600.00


Official Form 106A/B                                                                                     Schedule A/B: Property                                                                       page 2
 Debtor 1                               Rucker                                                           Olive                                                            Case number (if known)
 Debtor 2                               Kate                                                             Olive
                                       First Name                      Middle Name                        Last Name



 7. Electronics
       Examples:        Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 See Attached.                                                                                                                                      $1,925.00



 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Shirts-100.00 Pants-100.00 Shoes-100.00 Dresses-100.00 Misc. Clothes-100.00                                                                         $500.00



 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........


 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Dachshund Beagle                                                                                                                                      $50.00



 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜                $5,075.00




Official Form 106A/B                                                                                        Schedule A/B: Property                                                                 page 3
 Debtor 1                                  Rucker                                                                   Olive                                                             Case number (if known)
 Debtor 2                                  Kate                                                                     Olive
                                          First Name                          Middle Name                            Last Name




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                            Current value of the
                                                                                                                                                                                                         portion you own?
                                                                                                                                                                                                         Do not deduct secured
                                                                                                                                                                                                         claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ❑ No
       ✔ Yes.............................................................................................................................................................
       ❑                                                                                                                                                                    Cash..............
                                                                                                                                                                                                                        $100.00



 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                                17.1. Checking account:                                   Frost Bank Account Number: 667047290                                                                          $111.83


                                                17.2. Checking account:


                                                17.3. Savings account:


                                                17.4. Savings account:


                                                17.5. Certificates of deposit:


                                                17.6. Other financial account:


                                                17.7. Other financial account:


                                                17.8. Other financial account:


                                                17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:           Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                       page 4
 Debtor 1                             Rucker                                    Olive                                          Case number (if known)
 Debtor 2                             Kate                                      Olive
                                      First Name        Middle Name              Last Name



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:        Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                        professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                               Schedule A/B: Property                                               page 5
 Debtor 1                       Rucker                                           Olive                                            Case number (if known)
 Debtor 2                       Kate                                             Olive
                                First Name               Middle Name             Last Name



 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                                Federal:
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                Maintenance:

                                                                                                                                Support:

                                                                                                                                Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




Official Form 106A/B                                                               Schedule A/B: Property                                                  page 6
 Debtor 1                              Rucker                                                          Olive                                                            Case number (if known)
 Debtor 2                              Kate                                                            Olive
                                      First Name                      Middle Name                       Last Name



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                       $211.83



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
 38.   Accounts receivable or commissions you already earned

       ❑ No
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ❑ No
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑ No
       ❑ Yes. Describe........

 41.   Inventory

       ❑ No
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ❑ No
       ❑ Yes. Describe........

                                           Name of entity:                                                                                                        % of ownership:

                                                                                                                                                                                    %


                                                                                                                                                                                    %


Official Form 106A/B                                                                                       Schedule A/B: Property                                                                page 7
 Debtor 1                               Rucker                                                         Olive                                                            Case number (if known)
 Debtor 2                               Kate                                                           Olive
                                        First Name                    Middle Name                       Last Name




                                                                                                                                                                                  %


 43.   Customer lists, mailing lists, or other compilations
       ❑ No
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ❑ No
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ❑ No
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ❑ No
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ❑ No
       ❑ Yes..........................


Official Form 106A/B                                                                                       Schedule A/B: Property                                                                page 8
 Debtor 1                               Rucker                                                              Olive                                                               Case number (if known)
 Debtor 2                               Kate                                                                Olive
                                        First Name                       Middle Name                         Last Name



 50.   Farm and fishing supplies, chemicals, and feed

       ❑ No
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                     $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                        $180,000.00


 56.   Part 2: Total vehicles, line 5                                                                                        $29,500.00


 57.   Part 3: Total personal and household items, line 15                                                                     $5,075.00


 58.   Part 4: Total financial assets, line 36                                                                                    $211.83


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $34,786.83             Copy personal property total➜             +          $34,786.83




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                       $214,786.83




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                       page 9
 Debtor 1                  Rucker                                Olive                                Case number (if known)
 Debtor 2                  Kate                                  Olive
                           First Name       Middle Name           Last Name



                                                  SCHEDULE A/B: PROPERTY
                                                             Continuation Page

 6. Household goods and furnishings
     lawnmower                                                                                                                   $50.00
     Living Room Furniture-500.00 Bedroom Furniture-500.00 Misc. Furniture-500.00 Appliances-500.00                            $2,000.00
     dishes / flatware / pots pans                                                                                              $100.00
     bed                                                                                                                        $400.00
     dresser(s) / nightstand(s)                                                                                                  $50.00

 7. Electronics
     cellular telephones                                                                                                        $200.00
     television 1                                                                                                               $400.00
     television 2                                                                                                               $250.00
     stereo                                                                                                                    $1,000.00
     video game system                                                                                                           $75.00




Official Form 106A/B                                               Schedule A/B: Property
 Fill in this information to identify your case:

  Debtor 1                    Rucker                                   Olive
                              First Name           Middle Name         Last Name

  Debtor 2                    Kate                                     Olive
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Western District of Texas

  Case number                                                                                                                          ❑Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 10127 CEDARCLIFF SAN ANTONIO, TX 78245                                  $180,000.00
                                                                                         ❑                 $17,652.74             11 U.S.C. § 522(d)(1)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2011 HYUNDAI ACCENT GLS                                                    $3,500.00
                                                                                         ❑                 $3,500.00              11 U.S.C. § 522(d)(2)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                 page 1 of 3
 Debtor 1                        Rucker                                Olive                                           Case number (if known)
 Debtor 2                        Kate                                  Olive
                              First Name         Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on         Current value of the     Amount of the exemption you claim               Specific laws that allow exemption
 Schedule A/B that lists this property                 portion you own
                                                       Copy the value from      Check only one box for each exemption.
                                                       Schedule A/B

                                                                                ✔
 Brief description:
 Living Room Furniture-500.00 Bedroom Furniture-                    $2,000.00
                                                                                ❑                $2,000.00                     11 U.S.C. § 522(d)(3)

 500.00 Misc. Furniture-500.00 Appliances-500.00                                ❑   100% of fair market value, up to
                                                                                    any applicable statutory limit
 Line from
 Schedule A/B:         6


                                                                                ✔
 Brief description:
 dishes / flatware / pots pans                                        $100.00
                                                                                ❑                 $100.00                      11 U.S.C. § 522(d)(3)
                                                                                ❑   100% of fair market value, up to
 Line from                                                                          any applicable statutory limit
 Schedule A/B:         6


                                                                                ✔
 Brief description:
 bed                                                                  $400.00
                                                                                ❑                 $400.00                      11 U.S.C. § 522(d)(3)
                                                                                ❑   100% of fair market value, up to
 Line from                                                                          any applicable statutory limit
 Schedule A/B:         6


                                                                                ✔
 Brief description:
 dresser(s) / nightstand(s)                                            $50.00
                                                                                ❑                 $50.00                       11 U.S.C. § 522(d)(3)
                                                                                ❑   100% of fair market value, up to
 Line from                                                                          any applicable statutory limit
 Schedule A/B:         6


                                                                                ✔
 Brief description:
 lawnmower                                                             $50.00
                                                                                ❑                 $50.00                       11 U.S.C. § 522(d)(3)
                                                                                ❑   100% of fair market value, up to
 Line from                                                                          any applicable statutory limit
 Schedule A/B:         6


                                                                                ✔
 Brief description:
 television 1                                                         $400.00
                                                                                ❑                 $400.00                      11 U.S.C. § 522(d)(3)
                                                                                ❑   100% of fair market value, up to
 Line from                                                                          any applicable statutory limit
 Schedule A/B:         7


                                                                                ✔
 Brief description:
 television 2                                                         $250.00
                                                                                ❑                 $250.00                      11 U.S.C. § 522(d)(3)
                                                                                ❑   100% of fair market value, up to
 Line from                                                                          any applicable statutory limit
 Schedule A/B:         7


                                                                                ✔
 Brief description:
 stereo                                                             $1,000.00
                                                                                ❑                $1,000.00                     11 U.S.C. § 522(d)(3)
                                                                                ❑   100% of fair market value, up to
 Line from                                                                          any applicable statutory limit
 Schedule A/B:         7


                                                                                ✔
 Brief description:
 video game system                                                     $75.00
                                                                                ❑                 $75.00                       11 U.S.C. § 522(d)(3)
                                                                                ❑   100% of fair market value, up to
 Line from                                                                          any applicable statutory limit
 Schedule A/B:         7




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                                      page 2 of 3
 Debtor 1                   Rucker                                     Olive                                            Case number (if known)
 Debtor 2                   Kate                                       Olive
                            First Name           Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on         Current value of the      Amount of the exemption you claim               Specific laws that allow exemption
 Schedule A/B that lists this property                 portion you own
                                                       Copy the value from       Check only one box for each exemption.
                                                       Schedule A/B

                                                                                 ✔
 Brief description:
 cellular telephones                                                  $200.00
                                                                                 ❑                 $200.00                      11 U.S.C. § 522(d)(3)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         7


                                                                                 ✔
 Brief description:
 Shirts-100.00 Pants-100.00 Shoes-100.00 Dresses-                     $500.00
                                                                                 ❑                 $500.00                      11 U.S.C. § 522(d)(3)

 100.00 Misc. Clothes-100.00                                                     ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:         11


                                                                                 ✔
 Brief description:
 Dachshund Beagle                                                      $50.00
                                                                                 ❑                 $50.00                       11 U.S.C. § 522(d)(3)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         13


                                                                                 ✔
 Brief description:
 Cash                                                                 $100.00
                                                                                 ❑                 $100.00                      11 U.S.C. § 522(d)(5)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         16


                                                                                 ✔
 Brief description:
 Frost Bank Account Number: 667047290                                  $111.83
                                                                                 ❑                 $111.83                      11 U.S.C. § 522(d)(5)

 Checking account                                                                ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:         17




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                                       page 3 of 3
 Fill in this information to identify your case:

  Debtor 1                       Rucker                                 Olive
                                 First Name         Middle Name        Last Name

  Debtor 2                       Kate                                   Olive
  (Spouse, if filing)            First Name         Middle Name        Last Name

  United States Bankruptcy Court for the:                         Western District of Texas

  Case number                                                                                                                                ❑Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A                Column B              Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim         Value of              Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the       collateral that       portion
                                                                                                                      value of collateral.    supports this         If any
                                                                                                                                              claim
2.1 Security Service                                     Describe the property that secures the claim:                           $28,639.85          $26,000.00        $2,639.85
     Creditor's Name
                                                          2018 NISSAN PATHFINDER N/A
      8300 Culebra Rd
     Number             Street
      SAN ANTONIO, TX 78251                              As of the date you file, the claim is: Check all that apply.
     City                             State   ZIP Code   ❑Contigent
     Who owes the debt? Check one.                       ❑Unlquidated
     ❑Debtor 1 only                                      ❑Disputed
     ❑Debtor 2 only                                      Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                   ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another               secured car loan)
     ❑Check if this claim relates to a                   ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt
                                                         ❑Judgment lien from a lawsuit
     Date debt was incurred                              ❑Other (including a right to offset)
     06/08/2018
                                                         Last 4 digits of account number 6         0    2    0

      Add the dollar value of your entries in Column A on this page. Write that number here:                                   $28,639.85




Official Form 106D                                       Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
 Debtor 1                     Rucker                                         Olive                                            Case number (if known)
 Debtor 2                     Kate                                           Olive
                              First Name              Middle Name              Last Name


                                                                                                                       Column A                Column B              Column C
              Additional Page                                                                                          Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                            Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                 value of collateral.    supports this         If any
                                                                                                                                               claim


 2.2 New Penn Financial                                 Describe the property that secures the claim:                            $162,347.26          $180,000.00              $0.00
     Creditor's Name
                                                         10127 CEDARCLIFF SAN ANTONIO, TX 78245
     P.O. Box 10826
     Number          Street
     Greenville, SC 29603                               As of the date you file, the claim is: Check all that apply.
     City                       State      ZIP Code     ❑Contigent
     Who owes the debt? Check one.                      ❑Unlquidated
     ❑Debtor 1 only                                     ❑Disputed
     ❑Debtor 2 only                                     Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                  ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                  ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                        ❑Judgment lien from a lawsuit
     Date debt was incurred                             ❑Other (including a right to offset)
     11/03/2016
                                                        Last 4 digits of account number 9         7    4    3


      Add the dollar value of your entries in Column A on this page. Write that number here:                                  $162,347.26
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                     $190,987.11
      here:




Official Form 106D                           Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
 Fill in this information to identify your case:

    Debtor 1                  Rucker                                     Olive
                             First Name            Middle Name          Last Name

    Debtor 2                  Kate                                       Olive
    (Spouse, if filing)      First Name            Middle Name          Last Name

    United States Bankruptcy Court for the:                        Western District of Texas

    Case number                                                                                                                               ❑Check if this is an
    (if known)                                                                                                                                    amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

    1. Do any creditors have priority unsecured claims against you?
       ❑ No. Go to Part 2.
       ✔ Yes.
       ❑
    2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                    Total       Priority             Nonpriority
                                                                                                                                    claim       amount               amount

2          Hernandez, Annavette                                                                                                         $250.00            $250.00            $0.00
                                                                      Last 4 digits of account number
          Priority Creditor's Name
                                                                      When was the debt incurred?
           1010 Avocet
          Number          Street
                                                                      As of the date you file, the claim is: Check all that
                                                                      apply.
           San Antonio, TX 78245
                                                                      ❑ Contingent
                                                                      ❑ Unliquidated
          City                             State    ZIP Code
          Who incurred the debt? Check one.
                                                                      ❑ Disputed
          ❑ Debtor 1 only
          ❑ Debtor 2 only                                             Type of PRIORITY unsecured claim:
                                                                      ✔ Domestic support obligations
          ✔ Debtor 1 and Debtor 2 only
          ❑                                                           ❑
          ❑ At least one of the debtors and another                   ❑ Taxes and certain other debts you owe the
          ❑ Check if this claim is for a community debt
                                                                          government
                                                                      ❑ Claims for death or personal injury while you were
          Is the claim subject to offset?                                 intoxicated
          ✔ No
          ❑                                                           ❑ Other. Specify
          ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 18
 Debtor 1                         Rucker                                        Olive                                           Case number (if known)
 Debtor 2                         Kate                                          Olive
                                  First Name           Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     360 MORTGAGE GROUP LLC                                                    Last 4 digits of account number ****                                              $166,997.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          11/03/2016
        11305 FOUR POINTS BUILDING 1 / SUITE                                      As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        AUSTIN, TX 78726
        City                               State    ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ✔
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             other

        ❑ Yes
4.2     CAPITAL ONE                                                               Last 4 digits of account number XXXX                                                $1,044.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          03/11/2008
        PO BOX 30285                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        SALT LAKE CITY, UT 84130
        City                               State    ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ✔
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             credit card

        ❑ Yes
4.3     CAPITAL ONE                                                               Last 4 digits of account number XXXX                                                $5,644.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          09/03/2011
        PO BOX 30285                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        SALT LAKE CITY, UT 84130
        City                               State    ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ✔
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             credit card

        ❑ Yes



Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 2 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.4     CAPITAL ONE BANK USA NA                                              Last 4 digits of account number ****                                                  $500.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/02/2017
        10700 Capital One Way
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Richmond,, VA 23060
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   credit card

       ❑      Yes
4.5     CHASE/BANK ONE CARD SERV                                             Last 4 digits of account number ****                                             $4,016.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          07/26/2017
        PO BOX 15298
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        WILMINGTON, DE 19850
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   credit card

       ❑      Yes
4.6     CHASE/BANK ONE CARD SERV                                             Last 4 digits of account number ****                                             $6,630.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/15/2016
        PO BOX 15298
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        WILMINGTON, DE 19850
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   credit card

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.7     Christus Health                                                      Last 4 digits of account number 5617                                             $6,944.54
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/24/2018
        2707 North Loop West Suite 400
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Houston, TX 77008-1051
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.8     CHRISTUS HEALTH                                                      Last 4 digits of account number 8545                                                  $460.19
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/15/2017
        2707 NORTH LOOP WEST SUITE 400
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        HOUSTON, TX 77008-1051
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.9     CHRISTUS HEALTH                                                      Last 4 digits of account number 2421                                                  $106.20
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          04/04/2016
        2707 NORTH LOOP WEST SUITE 400
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        HOUSTON, TX 77008-1051
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 4 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.10    CHRISTUS HEALTH                                                      Last 4 digits of account number 0052                                             $4,000.50
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/13/2017
        2707 NORTH LOOP WEST SUITE 400
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        HOUSTON, TX 77008-1051
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.11    CITI CARDS/CITIBANK                                                  Last 4 digits of account number XXXX                                             $3,531.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/12/2008
        PO BOX 6241
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        SIOUX FALLS, SD 57117
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   credit card

       ❑      Yes
4.12    COMENITY BANK/TORRID                                                 Last 4 digits of account number XXXX                                                   $95.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          04/13/2018
        PO BOX 182789
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Columbus, OH 43218
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   credit card

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 5 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.13    CREDIT ONE BANK                                                      Last 4 digits of account number ****                                                  $624.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/13/2018
        PO BOX 98872
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        LAS VEGAS, NV 89193-8872
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   credit card

       ❑      Yes
4.14    DENTAL CARE OF WESTOVER HILLS                                        Last 4 digits of account number 8444                                                  $280.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          07/10/2016
        9902 POTRANCO RD, SUITE 109
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        SAN ANTONIO, TX 78251-9610
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.15    DEPT OF EDUCATION/NELNET                                             Last 4 digits of account number XXXX                                             $3,511.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/18/2014
        121 S 13TH ST
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        LINCOLN, NE 68508
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ✔
                                                                             ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ❑     Other. Specify
       ✔
       ❑      No                                                                   student loan

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 6 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.16    DEPT OF EDUCATION/NELNET                                             Last 4 digits of account number XXXX                                             $6,845.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/18/2014
        121 S 13TH ST
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        LINCOLN, NE 68508
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ✔
                                                                             ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ❑     Other. Specify
       ✔
       ❑      No                                                                   student loan

       ❑      Yes
4.17    DEPT OF EDUCATION/NELNET                                             Last 4 digits of account number XXXX                                             $2,006.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/02/2014
        121 S 13TH ST
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        LINCOLN, NE 68508
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ✔
                                                                             ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ❑     Other. Specify
       ✔
       ❑      No                                                                   student loan

       ❑      Yes
4.18    DEPT OF EDUCATION/NELNET                                             Last 4 digits of account number XXXX                                             $1,112.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/10/2015
        121 S 13TH ST
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Lincoln, NE 68508
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ✔
                                                                             ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ❑     Other. Specify
       ✔
       ❑      No                                                                   student loan

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 7 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.19    DEPT OF EDUCATION/NELNET                                             Last 4 digits of account number XXXX                                             $5,516.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          09/21/2015
        121 S 13TH ST
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Lincoln, NE 68508
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ✔
                                                                             ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ❑     Other. Specify
       ✔
       ❑      No                                                                   student loan

       ❑      Yes
4.20    DEPT OF EDUCATION/NELNET                                             Last 4 digits of account number XXXX                                             $7,582.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          09/21/2015
        121 S 13TH ST
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Lincoln, NE 68508
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ✔
                                                                             ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ❑     Other. Specify
       ✔
       ❑      No                                                                   student loan

       ❑      Yes
4.21    DEPT OF EDUCATION/NELNET                                             Last 4 digits of account number XXXX                                             $2,467.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/12/2016
        121 S 13TH ST
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Lincoln, NE 68508
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ✔
                                                                             ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ❑     Other. Specify
       ✔
       ❑      No                                                                   student loan

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 8 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.22    DEPT OF EDUCATION/NELNET                                             Last 4 digits of account number XXXX                                             $3,954.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/12/2016
        121 S 13TH ST
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        LINCOLN, NE 68508
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ✔
                                                                             ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ❑     Other. Specify
       ✔
       ❑      No                                                                   student loan

       ❑      Yes
4.23    DISCOVER FINANCIAL SERVICES                                          Last 4 digits of account number XXXX                                            $16,585.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/02/2013
        PO BOX 15316
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        WILMINGTON,, DE 19850
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ✔
                                                                             ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ❑     Other. Specify
       ✔
       ❑      No                                                                   student loan

       ❑      Yes
4.24    DISCOVER FINCL SVC LLC                                               Last 4 digits of account number ****                                            $18,682.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/22/2015
        PO BOX 15316
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        WILMINGTON, DE 19850-5316
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   credit card

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 9 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.25    EMERGENCY PHYSICIAN BILLING                                          Last 4 digits of account number 0100                                                 $563.82
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/12/2018
        PO BOX 203949
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        DALLAS, TX 75320-3949
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.26    First Premier Bank                                                   Last 4 digits of account number 6209                                                  $87.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/09/2018
        PO BOX 5519
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        SIOUX FALLS, SD 57117-5519
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   credit card

       ❑      Yes
4.27    LABCORP                                                              Last 4 digits of account number 3156                                                  $12.25
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/20/2018
        P.O BOX 2240
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Burlington, NC 27216-2240
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 10 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.28    LABCORP                                                              Last 4 digits of account number 6343                                                 $322.30
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          04/22/2009
        3903 Wiseman Blvd #219
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        SAN ANTONIO, TX 78251
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.29    LABCORP                                                              Last 4 digits of account number 9468                                                   $9.09
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          05/30/2018
        P.O. BOX 2240
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        BURLINGTON, NC 27216-2240
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.30    METHODIST HOSPITAL                                                   Last 4 digits of account number 7565                                                 $436.46
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/07/2011
        134 Menger Springs Rd
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        BOERNE, TX 78006
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page 11 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.31    NATIONAL MEDICAL PROFESSIONALS                                       Last 4 digits of account number 0439                                                 $116.22
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/21/2017
        PO BOX 840553
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        DALLAS, TX 75284-0553
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.32    PATHOLOGY ASSOCIATES OF SA                                           Last 4 digits of account number XXXX                                                  $27.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/08/2018
        9600 Datapoint D
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        San Antonio, TX 78229
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.33    PEDIATRIX MEDICAL GROUP                                              Last 4 digits of account number 5359                                                 $215.74
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/13/2017
        PO BOX 120153
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        GRAND RAPIDS, MI 49528-0103
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 12 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.34    PSI PREMIER SPECIALTIES INC                                          Last 4 digits of account number 3832                                                 $156.58
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/13/2016
        PO BOX 27044
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        SALT LAKE CITY, UT 84127-0044
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.35    QUEST DIAGNOSTICS                                                    Last 4 digits of account number 8360                                                   $2.44
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/22/2016
        P. O. BOX 7306
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        HOLLISTER, MT 65673-7306
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.36    QUEST DIAGNOSTICS                                                    Last 4 digits of account number 9861                                                   $2.62
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          05/24/2017
        P. O. BOX 7306
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        HOLLISTER, MT 65673-7306
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 13 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.37    River City Imaging Associates                                        Last 4 digits of account number 0-01                                                 $134.30
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/24/2018
        700 N Saint Mary's #1400-50
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        SAN ANTONIO, TX 78205
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.38    SECURITY SERVICE FCU                                                 Last 4 digits of account number XXXX                                            $29,002.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/08/2018
        16211 LA CANTERA PKWY
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        SAN ANTONIO, TX 78256
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   other

       ❑      Yes
4.39    STAR ANESTHESIA PA                                                   Last 4 digits of account number XXXX                                                 $188.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/30/2018
        3510 N Loop 1604 E
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        San Antonio, TX 78247
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 14 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.40    SYNCB/CONNS                                                          Last 4 digits of account number XXXX                                             $1,336.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/13/2015
        C/O P.O. BOX 965036
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        ORLANDO, FL 32896
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   other

       ❑      Yes
4.41    SYNCB/PAYPALEXTRASMC                                                 Last 4 digits of account number ****                                                 $893.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          05/07/2018
        PO BOX 965005
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        ORLANDO, FL 32896-5005
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   credit card

       ❑      Yes
4.42    SYNCB/ROOMS TO GO                                                    Last 4 digits of account number XXXX                                                 $632.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/10/2015
        C/O P.O. BOX 965036
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        ORLANDO, FL 32896
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   other

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 15 of 18
 Debtor 1                        Rucker                                    Olive                                           Case number (if known)
 Debtor 2                        Kate                                      Olive
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.43    VICTORIA EMERGENCY PARTNERS LLC                                      Last 4 digits of account number 0011                                             $1,114.68
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/24/2018
        PO BOX 23419
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        JACKSONVILLE, FL 32241-4419
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.44    VILLAS DE LA CASCADA APTS                                            Last 4 digits of account number 962X                                                 $373.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/29/2016
        7770 Pipers Ln
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        San Antonio, TX 78251
                                                                             ❑     Contingent
       City                               State    ZIP Code                  ❑     Unliquidated
       Who incurred the debt? Check one.                                     ❑     Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑     Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑     Other. Specify
       ✔
       ❑      No                                                                   other

       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 16 of 18
 Debtor 1                       Rucker                                     Olive                                          Case number (if known)
 Debtor 2                       Kate                                       Olive
                                First Name           Middle Name            Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        BUSINESS & PROFESSIONAL SERVICE                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        621 N ALAMO ST                                                Line 4.32 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        San Antonio, TX 78215
       City                                  State      ZIP Code      Last 4 digits of account number

        BUSINESS & PROFESSIONAL SERVICE                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        621 N ALAMO ST                                                Line 4.39 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        San Antonio, TX 78215
       City                                  State      ZIP Code      Last 4 digits of account number

        NATIONAL CREDIT SYSTEMS                                       On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO BOX 312125                                                 Line 4.44 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        ATLANTA, GA 31131
       City                                  State      ZIP Code      Last 4 digits of account number

        Credit Systems International, Inc.                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 1088                                                   Line 4.37 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Arlington, TX 76004
       City                                  State      ZIP Code      Last 4 digits of account number

        Victoria Emergency Partners LLC                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO BOX 203949                                                 Line 4.25 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        DALLAS, TX 75320-3949
       City                                  State      ZIP Code      Last 4 digits of account number

        CREDIT COLLECTION SERVICES                                    On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        P.O BOX 55126                                                 Line 4.28 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        BOSTON, MA 02205-5126
       City                                  State      ZIP Code      Last 4 digits of account number

        NCO FINANCIAL SYSTEMS, INC.                                   On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        2360 CAMPBELL CREEK, STE 500                                  Line 4.30 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        RICHARDSON, TX 75082
       City                                  State      ZIP Code      Last 4 digits of account number




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                page 17 of 18
 Debtor 1                    Rucker                                         Olive                                  Case number (if known)
 Debtor 2                    Kate                                           Olive
                             First Name             Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                              Total claim


                   6a. Domestic support obligations                                 6a.                          $250.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                    6b.                            $0.00
                       government

                   6c. Claims for death or personal injury while you                6c.                            $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.              6d.   +                        $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                              6e.                           $250.00




                                                                                              Total claim


                   6f. Student loans                                                6f.                       $49,578.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                      6g.                            $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and                6h.                            $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.           6i.   +                  $255,178.93
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                              6j.                       $304,756.93




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 18 of 18
 Fill in this information to identify your case:

     Debtor 1                   Rucker                                  Olive
                                First Name           Middle Name        Last Name

     Debtor 2                   Kate                                    Olive
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                        Western District of Texas

     Case number                                                                                                                             ❑Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                page 1 of 1
 Fill in this information to identify your case:

  Debtor 1                        Rucker                                     Olive
                                 First Name              Middle Name         Last Name

  Debtor 2                        Kate                                       Olive
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                                Western District of Texas

  Case number                                                                                                                               ❑Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                                Check all schedules that apply:
3.1                                                                                                             ❑Schedule D, line
      Name
                                                                                                                ❑Schedule E/F, line
      Number          Street                                                                                    ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                               Schedule H: Your Codebtors                                                        page 1 of 1
 Fill in this information to identify your case:

  Debtor 1                   Rucker                                   Olive
                             First Name            Middle Name       Last Name

  Debtor 2                   Kate                                     Olive
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Western District of Texas                                       ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse

                                                                           ✔Employed
                                                                           ❑                                                   ✔Employed
                                                                                                                               ❑
     If you have more than one job,            Employment status
     attach a separate page with                                           ❑Not Employed                                       ❑Not Employed
     information about additional
     employers.                                                            SECRETARY                                           BOOKKEEPER
                                               Occupation
     Include part time, seasonal, or
                                                                           OLIVE BOOKKEEPING AND TAX SERVICE                   OLIVE BOOKKEEPING AND TAX SERVICE
     self-employed work.                       Employer's name

     Occupation may include student                                        10127 CEDARCLIFF                                    10127 CEDARCLIFF
                                               Employer's address
     or homemaker, if it applies.                                             Number Street                                    Number Street




                                                                           SAN ANTONIO, TX 78245                               SAN ANTONIO, TX 78245
                                                                              City                     State   Zip Code        City                    State      Zip Code
                                               How long employed there? 12018 years                                            12018 years


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                           For Debtor 1     For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.               2.               $700.00                  $1,000.00

 3. Estimate and list monthly overtime pay.                                                   3.   +             $0.00     +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                              4.               $700.00                  $1,000.00




Official Form 106I                                                            Schedule I: Your Income                                                                  page 1
 Debtor 1                              Rucker                                                             Olive                                    Case number (if known)
 Debtor 2                              Kate                                                               Olive
                                       First Name                      Middle Name                            Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔               4.            $700.00                $1,000.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                   5a.            $53.55                   $76.50

      5b. Mandatory contributions for retirement plans                                                                    5b.             $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                    5c.             $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                    5d.             $0.00                    $0.00

      5e. Insurance                                                                                                       5e.             $0.00                    $0.00

      5f. Domestic support obligations                                                                                    5f.             $0.00                    $0.00

      5g. Union dues                                                                                                      5g.             $0.00                    $0.00

                                                                                                                          5h.
                                                                                                                                +         $0.00        +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                         6.             $53.55                   $76.50
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.            $646.45                  $923.50
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                          8a.             $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                          8b.             $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                          8c.             $0.00                    $0.00
      8d. Unemployment compensation                                                                                       8d.             $0.00                    $0.00
      8e. Social Security                                                                                                 8e.             $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                          8f.             $0.00                    $0.00
            Specify:
                                                                                                                          8g.             $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify: Food Stamps                                                                      8h.   +       $306.00        +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                               9.            $306.00                     $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                            10.           $952.45    +              $923.50        =       $1,875.95

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $1,875.95
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
 Fill in this information to identify your case:

  Debtor 1                   Rucker                                          Olive
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                   Kate                                            Olive                                 ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                              Western District of Texas

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Go to line 2.
     ✔Yes. Does Debtor 2 live in a separate household?
     ❑
            ✔ No
            ❑
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                          ❑No.
                                                                                          Child                               1                   ✔Yes.
                                                                                                                                                  ❑
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                      $1,469.55


     If not included in line 4:
                                                                                                                                  4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                         $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
 Debtor 1                       Rucker                                       Olive                           Case number (if known)
 Debtor 2                       Kate                                         Olive
                                First Name             Middle Name           Last Name


                                                                                                                         Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                              5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                      6a.                       $290.00

       6b. Water, sewer, garbage collection                                                                    6b.                        $80.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                      6c.                         $0.00

       6d. Other. Specify:                         Other utilities                                             6d.                         $0.00

 7.    Food and housekeeping supplies                                                                          7.                        $400.00

 8.    Childcare and children’s education costs                                                                8.                         $61.00

 9.    Clothing, laundry, and dry cleaning                                                                     9.                         $50.00

 10. Personal care products and services                                                                       10.                         $0.00

 11.   Medical and dental expenses                                                                             11.                         $0.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                              12.                         $0.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                        13.                         $0.00

 14. Charitable contributions and religious donations                                                          14.                         $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                               15a.                        $0.00
       15a. Life insurance
                                                                                                               15b.                      $191.00
       15b. Health insurance
                                                                                                               15c.                      $112.00
       15c. Vehicle insurance
                                                                                                               15d.                        $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                16.                         $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                         17a.                      $507.00

       17b. Car payments for Vehicle 2                                                                         17b.

       17c. Other. Specify:                   Other Payments                                                   17c.                        $0.00

       17d. Other. Specify:                 Recreational Vehicle                                               17d.                        $0.00

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                    18.                       $250.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                        20a.                        $0.00

       20b. Real estate taxes                                                                                  20b.                        $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                       20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                           20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                        20e.                        $0.00
Official Form 106J                                                              Schedule J: Your Expenses                                          page 2
 Debtor 1                    Rucker                                         Olive                           Case number (if known)
 Debtor 2                    Kate                                           Olive
                             First Name              Middle Name            Last Name



 21. Other. Specify:                                                                                          21.     +                    $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                            22a.                    $3,410.55

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                    22b.                        $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                         22c.                    $3,410.55


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a.                    $1,875.95

      23b. Copy your monthly expenses from line 22c above.                                                    23b.    –                $3,410.55

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                              23c.                   ($1,534.60)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                           page 3
 Fill in this information to identify your case:

  Debtor 1                         Rucker                                                    Olive
                                  First Name                    Middle Name                 Last Name

  Debtor 2                         Kate                                                      Olive
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                             Western District of Texas

  Case number                                                                                                                                                                       ❑Check if this is an
  (if known)                                                                                                                                                                           amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                           Your assets
                                                                                                                                                                                           Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                      $180,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                              $34,786.83


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                     $214,786.83



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                           Your liabilities
                                                                                                                                                                                           Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                              $190,987.11

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                $250.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                     +               $304,756.93


                                                                                                                                                                  Your total liabilities                   $495,994.04

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                     $1,875.95


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                   $3,410.55




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                              page 1 of 2
 Debtor 1                     Rucker                                          Olive                                            Case number (if known)
 Debtor 2                     Kate                                            Olive
                              First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                 $1,700.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                    $250.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                $49,578.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                      $0.00



    9g. Total. Add lines 9a through 9f.                                                                                              $49,828.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                          page 2 of 2
 Fill in this information to identify your case:

  Debtor 1                   Rucker                                  Olive
                             First Name            Middle Name       Last Name

  Debtor 2                   Kate                                    Olive
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                           ❑Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                        (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Rucker Olive                                                   ✘ /s/ Kate Olive
        Rucker Olive, Debtor 1, Debtor 1                                     Kate Olive, Debtor 2


        Date 07/30/2018                                                      Date 07/30/2018
                MM/ DD/ YYYY                                                       MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                 Notice Required by 11 U.S.C. § 342(b) for
                 Individuals Filing for Bankruptcy (Form 2010)


                   This notice is for you if:                                            Chapter 7: Liquidation

                         You are an individual filing for                                                    $245      filing fee
                         bankruptcy, and                                                                         $75   administrative fee
                                                                                                    +            $15   trustee surcharge
                         Your debts are primarily consumer
                         debts.                                                                              $335      total fee
                         Consumer debts are defined in 11 U.S.C.
                         § 101(8) as “incurred by an individual                         Chapter 7 is for individuals who have
                         primarily for a personal, family, or                           financial difficulty preventing them from
                         household purpose.”                                            paying their debts and who are willing to
                                                                                        allow their non- exempt property to be used
                                                                                        to pay their creditors. The primary purpose
                                                                                        of filing under chapter 7 is to have your
                                                                                        debts discharged. The bankruptcy discharge
                 The types of bankruptcy that are                                       relieves you after bankruptcy from having to
                 available to individuals                                               pay many of your pre-bankruptcy debts.
                                                                                        Exceptions exist for particular debts, and
                 Individuals who meet the qualifications may file                       liens on property may still be enforced after
                 under one of four different chapters of the                            discharge. For example, a creditor may
                 Bankruptcy Code:                                                       have the right to foreclose a home
                                                                                        mortgage or repossess an automobile.
                         Chapter 7 — Liquidation
                                                                                        However, if the court finds that you have
                         Chapter 11— Reorganization                                     committed certain kinds of improper conduct
                                                                                        described in the Bankruptcy Code, the court
                         Chapter 12— Voluntary repayment plan                           may deny your discharge.
                                     for family farmers or
                                     fishermen                                           You should know that even if you file chapter 7
                                                                                        and you receive a discharge, some debts are
                         Chapter 13— Voluntary repayment plan                           not discharged under the law. Therefore, you
                                     for individuals with regular                       may still be responsible to pay:
                                     income
                                                                                                 most taxes;
                You should have an attorney review your                                          most student loans;
                decision to file for bankruptcy and the choice                                   most domestic support and property
                of                                                                               settlement obligations;
                 chapter.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
                                                                                         your income is more than the median income for
                         most fines, penalties, forfeitures, and
                                                                                         your state of residence and family size,
                         criminal restitution obligations; and
                                                                                        depending on the results of the Means Test, the
                         certain debts that are not listed in your
                                                                                        U.S. trustee, bankruptcy administrator, or
                         bankruptcy papers.                                             creditors can file a motion to dismiss your case
                 You may also be required to pay debts arising                          under § 707(b) of the Bankruptcy Code. If a
                 from:                                                                  motion is filed, the court will decide if your case
                                                                                        should be dismissed. To avoid dismissal, you
                         fraud or theft;
                                                                                        may choose to proceed under another chapter of
                         fraud or defalcation while acting in breach
                                                                                        the Bankruptcy Code.
                         of fiduciary capacity;
                         intentional injuries that you inflicted; and
                                                                                        If you are an individual filing for chapter 7
                         death or personal injury caused by
                                                                                        bankruptcy, the trustee may sell your property
                         operating a motor vehicle, vessel, or
                                                                                        to pay your debts, subject to your right to
                         aircraft while intoxicated from alcohol or
                                                                                        exempt the property or a portion of the proceeds
                         drugs.
                                                                                        from the sale of the property. The property, and
                                                                                        the proceeds from property that your
                 If your debts are primarily consumer debts, the
                                                                                        bankruptcy trustee sells or liquidates that you
                 court can dismiss your chapter 7 case if it finds
                                                                                        are entitled to, is called exempt property.
                 that you have enough income to repay creditors
                                                                                        Exemptions may enable you to keep your home,
                 a certain amount. You must file Chapter 7
                                                                                        a car, clothing, and household items or to
                 Statement of Your Current Monthly Income
                                                                                        receive some of the proceeds if the property is
                 (Official Form 122A–1) if you are an individual
                                                                                        sold.
                 filing for bankruptcy under chapter 7. This form
                 will determine your current monthly income and
                                                                                        Exemptions are not automatic. To exempt
                 compare whether your income is more than the
                                                                                        property, you must list it on Schedule C: The
                 median income that applies in your state.
                                                                                        Property You Claim as Exempt (Official Form
                                                                                        106C). If you do not list the property, the
                 If your income is not above the median for your
                                                                                        trustee may sell it and pay all of the proceeds to
                 state, you will not have to complete the other
                                                                                        your creditors.
                 chapter 7 form, the Chapter 7 Means Test
                 Calculation (Official Form 122A–2).

                                                                                         Chapter 11: Reorganization
                 If your income is above the median for your
                 state, you must file a second form —the                                                    $1,167     filing fee
                 Chapter 7 Means Test Calculation (Official Form
                                                                                                   +            $550   administrative fee
                 122A–2). The calculations on the form—
                 sometimes called the Means Test —deduct from                                               $1,717     total fee
                 your income living expenses and payments on
                 certain debts to determine any amount available                        Chapter 11 is often used for reorganizing a
                 to pay unsecured creditors. If                                         business, but is also available to individuals. The
                                                                                        provisions of chapter 11 are too complicated to
                                                                                        summarize briefly.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 2
                   Read These Important Warnings

                       Because bankruptcy can have serious long-term financial and legal consequences, including
                       loss of your property, you should hire an attorney and carefully consider all of your options
                       before you file. Only an attorney can give you legal advice about what can happen as a result
                       of filing for bankruptcy and what your options are. If you do file for bankruptcy, an attorney
                       can help you fill out the forms properly and protect you, your family, your home, and your
                       possessions.

                       Although the law allows you to represent yourself in bankruptcy court, you should
                       understand that many people find it difficult to represent themselves successfully. The rules
                       are technical, and a mistake or inaction may harm you. If you file without an attorney, you are
                       still responsible for knowing and following all of the legal requirements.

                       You should not file for bankruptcy if you are not eligible to file or if you do not intend to file
                       the necessary documents.

                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud
                       in your bankruptcy case. Making a false statement, concealing property, or obtaining money
                       or property by fraud in connection with a bankruptcy case can result in fines up to $250,000,
                       or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                        Under chapter 13, you must file with the court a
                  Chapter 12: Repayment plan for
                  family                                                                plan to repay your creditors all or part of the
                             farmers or fishermen                                       money that you owe them, usually using your
                                                                                        future earnings. If the court approves your plan,
                                      $200     filing fee                               the court will allow you to repay your debts, as
                             +          $75    administrative fee                       adjusted by the plan, within 3 years or 5 years,
                                                                                        depending on your income and other factors.
                                      $275     total fee
                                                                                        After you make all the payments under your
                 Similar to chapter 13, chapter 12 permits family                       plan, many of your debts are discharged. The
                 farmers and fishermen to repay their debts over                        debts that are not discharged and that you may
                 a period of time using future earnings and to                          still be responsible to pay include:
                 discharge some debts that are not paid.
                                                                                                 domestic support obligations,
                                                                                                 most student loans,
                  Chapter 13: Repayment plan for                                                 certain taxes,
                             individuals with regular                                            debts for fraud or theft,
                             income                                                              debts for fraud or defalcation while acting
                                                                                                 in a fiduciary capacity,
                                      $235     filing fee                                        most criminal fines and restitution
                             +          $75    administrative fee                                obligations,
                                                                                                 certain debts that are not listed in your
                                      $310     total fee
                                                                                                 bankruptcy papers,
                                                                                                 certain debts for acts that caused death
                 Chapter 13 is for individuals who have regular
                                                                                                 or
                 income and would like to pay all or part of their
                                                                                                 personal injury, and
                 debts in installments over a period of time and
                                                                                                 certain long-term secured debts
                 to discharge some debts that are not paid. You
                 are eligible for chapter 13 only if your debts are
                 not more than certain dollar amounts set forth in
                 11 U.S.C. § 109.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 3
                   Warning: File Your Forms on Time                                              A married couple may file a bankruptcy
                                                                                                 case together—called ajoint case. If you
                   Section 521(a)(1) of the Bankruptcy Code                                      file a joint case and each spouse lists the
                   requires that you promptly file detailed                                      same mailing address on the bankruptcy
                   information about your creditors, assets,                                     petition, the bankruptcy court generally will
                   liabilities, income, expenses and general                                     mail you and your spouse one copy of
                   financial condition. The court may dismiss                                    each notice, unless you file a statement
                   your bankruptcy case if you do not file this                                  with the court asking that each spouse
                   information within the deadlines set by the                                   receive separate copies.
                   Bankruptcy Code, the Bankruptcy Rules,
                   and the local rules of the court.
                                                                                                 Understand which services you
                                                                                                 could receive from credit
                   For more information about the documents                                      counseling agencies
                   and their deadlines, go to:
                   http://www.uscourts.gov/bkforms                                               The law generally requires that you receive
                   /bankruptcy_form                                                              a credit counseling briefing from an
                   s.html#procedure.                                                             approved credit counseling agency. 11
                                                                                                 U.S.C. § 109(h). If you are filing a joint
                                                                                                 case, both spouses must receive the
                 Bankruptcy crimes have serious                                                  briefing. With limited exceptions, you must
                 consequences
                                                                                                 receive it within the 180 days before you
                         If you knowingly and fraudulently                                       file your bankruptcy petition. This briefing
                         conceal                                                                 is usually conducted by telephone or on
                         assets or make a false oath or statement                                the Internet.
                         under penalty of perjury—either orally or
                         in writing—in connection with a                                         In addition, after filing a bankruptcy case,
                         bankruptcy case, you may be fined,                                      you generally must complete a financial
                         imprisoned, or both.                                                    management instructional course before
                         All information you supply in connection                                you can receive a discharge. If you are
                         with a bankruptcy case is subject to                                    filing a joint case, both spouses must
                         examination by the Attorney General                                     complete the course.
                         acting
                         through the Office of the U.S. Trustee,                                 You can obtain the list of agencies
                         the                                                                     approved to provide both the briefing and
                         Office of the U.S. Attorney, and other                                  the instructional course from:
                         offices and employees of the U.S.                                       http://justice.gov/ust/eo/hapcpa
                         Department of Justice.                                                  /ccde/cc_approved.html.


                 Make sure the court has your                                                    In Alabama and North Carolina, go to:
                 mailing address                                                                 http://www.uscourts.gov/FederalCourts
                                                                                                 /Bankruptcy/
                 The bankruptcy court sends notices to the                                       BankruptcyResources/ApprovedCredit
                 mailing address you list on Voluntary Petition for                              AndDebtCounselors.aspx.
                 Individuals Filing for Bankruptcy(Official Form
                 101). To ensure that you receive information                                    If you do not have access to a computer,
                 about your case, Bankruptcy Rule 4002 requires                                  the clerk of the bankruptcy court may be
                 that you notify the court of any changes in your                                able to help you obtain the list.
                 address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)           page 4
 Fill in this information to identify your case:

  Debtor 1                   Rucker                                    Olive
                             First Name            Middle Name         Last Name

  Debtor 2                   Kate                                      Olive
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                          Western District of Texas

  Case number                                                                                                                         ❑Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.



 Part 1: Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
         Debtor 1:                                                Dates Debtor 1 lived      Debtor 2:                                           Dates Debtor 2 lived
                                                                  there                                                                         there


                                                                                           ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
        7750 Pipers Lane, Apt 1501                               From 01/01/2015                                                               From
       Number       Street                                                                     Number   Street
                                                                 To   12/31/2015                                                               To

        San Antonio, TX 78251
       City                               State ZIP Code                                       City                      State ZIP Code



                                                                                           ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
        5 Walnut                                                 From 03/18/2011                                                               From
       Number       Street                                                                     Number   Street
                                                                 To   01/01/2015                                                               To

        Rockport, TX 78382
       City                               State ZIP Code                                       City                      State ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states and territories
    include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 1
 Debtor 1                      Rucker                                        Olive                                          Case number (if known)
 Debtor 2                      Kate                                          Olive
                               First Name           Middle Name              Last Name




 Part 2: Explain the Sources of Your Income



 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income               Gross Income                Sources of income            Gross Income
                                                     Check all that apply.           (before deductions and      Check all that apply.        (before deductions and
                                                                                     exclusions)                                              exclusions)


     From January 1 of current year until the       ❑ Wages, commissions,                                       ❑ Wages, commissions,
     date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                    ✔ Operating a business
                                                    ❑                                           $5,000.00       ✔ Operating a business
                                                                                                                ❑                                          $7,000.00


     For last calendar year:                        ✔ Wages, commissions,
                                                    ❑                                                           ❑ Wages, commissions,
                                                        bonuses, tips                          $32,962.00           bonuses, tips
     (January 1 to December 31, 2017           )
                                        YYYY        ✔ Operating a business
                                                    ❑                                          $32,962.00       ✔ Operating a business
                                                                                                                ❑                                         $12,000.00


     For the calendar year before that:             ✔ Wages, commissions,
                                                    ❑                                                           ❑ Wages, commissions,
                                                        bonuses, tips                          $63,595.00           bonuses, tips
     (January 1 to December 31, 2016           )
                                        YYYY        ❑Operating a business                                       ✔ Operating a business
                                                                                                                ❑                                         $12,000.00


 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
    payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
    have income that you received together, list it only once under Debtor 1.
    List each source and the gross income from each source separately. Do not include income that you listed in line 4.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income               Gross income from each      Sources of income            Gross Income from each
                                                     Describe below.                 source                      Describe below.              csoure
                                                                                     (before deductions and                                   (before deductions and
                                                                                     exclusions)                                              exclusions)


     From January 1 of current year until the
     date you filed for bankruptcy:




     For last calendar year:
     (January 1 to December 31, 2017           )
                                        YYYY




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
 Debtor 1                     Rucker                                           Olive                                           Case number (if known)
 Debtor 2                     Kate                                             Olive
                              First Name              Middle Name              Last Name



     For the calendar year before that:
     (January 1 to December 31, 2016           )
                                       YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy

 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ❑No. Go to line 7.
               ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
               ❑
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.



                                                                  Dates of             Total amount paid           Amount you still owe       Was this payment for…
                                                                  payment

                                                                                                                                            ❑Mortgage
                 Security Service FCU
                Creditor's Name
                                                                  28639.85                         $1,500.00                   $28,000.00
                                                                                                                                            ✔ Car
                                                                                                                                            ❑
                 P.O. Box 691510                                                                                                            ❑Credit card
                Number      Street
                                                                                                                                            ❑Loan repayment
                 San Antonio, TX 78269-1510                                                                                                 ❑Suppliers or vendors
                                                                                                                                            ❑Other
                City                   State       ZIP Code



                                                                                                                                            ❑Mortgage
                Creditor's Name                                                                                                             ❑Car
                                                                                                                                            ❑Credit card
                Number      Street                                                                                                          ❑Loan repayment
                                                                                                                                            ❑Suppliers or vendors
                                                                                                                                            ❑Other
                City                   State       ZIP Code


 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
    officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
    proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.



Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
 Debtor 1                    Rucker                                        Olive                                       Case number (if known)
 Debtor 2                    Kate                                          Olive
                             First Name              Middle Name           Last Name


                                                         Dates of            Total amount paid     Amount you still owe   Reason for this payment
                                                         payment



     Insider's Name


     Number     Street




     City                      State      ZIP Code




     Insider's Name


     Number     Street




     City                      State      ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
    Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.


                                                         Dates of            Total amount paid     Amount you still owe   Reason for this payment
                                                         payment                                                          Include creditor’s name



     Insider's Name


     Number     Street




     City                      State      ZIP Code




     Insider's Name


     Number     Street




     City                      State      ZIP Code



 Part 4: Identify Legal Actions, Repossessions, and Foreclosures




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 4
 Debtor 1                     Rucker                                          Olive                                           Case number (if known)
 Debtor 2                     Kate                                            Olive
                              First Name             Middle Name               Last Name



 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
    disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.


                                                     Nature of the case                           Court or agency                                  Status of the case

     Case title                                                                                                                                  ❑Pending
                                                                                                 Court Name                                      ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                 Number       Street
     Case number

                                                                                                 City                      State      ZIP Code


     Case title                                                                                                                                  ❑Pending
                                                                                                 Court Name                                      ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                 Number       Street
     Case number

                                                                                                 City                      State      ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     ✔No. Go to line 11.
     ❑
     ❑Yes. Fill in the information below.


                                                                    Describe the property                                      Date                 Value of the property



            Creditor’s Name


            Number      Street                                      Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
            City                           State   ZIP Code        ❑Property was attached, seized, or levied.
                                                                    Describe the property                                      Date                 Value of the property



            Creditor’s Name


            Number      Street                                      Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
            City                           State   ZIP Code        ❑Property was attached, seized, or levied.


Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 5
 Debtor 1                     Rucker                                       Olive                                       Case number (if known)
 Debtor 2                     Kate                                         Olive
                              First Name             Middle Name           Last Name



 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse to
     make a payment because you owed a debt?

     ✔ No
     ❑
     ❑Yes. Fill in the details.


                                                            Describe the action the creditor took                        Date action was   Amount
                                                                                                                         taken
       Creditor’s Name


       Number        Street




                                                           Last 4 digits of account number: XXXX–
       City                          State     ZIP Code



 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed receiver,
     a custodian, or another official?

     ✔ No
     ❑
     ❑Yes

 Part 5: List Certain Gifts and Contributions



 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per      Describe the gifts                                          Dates you gave      Value
       person                                                                                                          the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                            State    ZIP Code

      Person’s relationship to you




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6
 Debtor 1                     Rucker                                            Olive                                    Case number (if known)
 Debtor 2                     Kate                                              Olive
                              First Name             Middle Name                Last Name


       Gifts with a total value of more than $600 per           Describe the gifts                                       Dates you gave     Value
       person                                                                                                            the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                            State   ZIP Code

      Person’s relationship to you


 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ✔ No
     ❑
     ❑Yes. Fill in the details for each gift or contribution.
        Gifts or contributions to charities that      Describe what you contributed                                  Date you              Value
        total more than $600                                                                                         contributed



       Charity’s Name




       Number        Street



       City                   State     ZIP Code



 Part 6: List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

     ✔ No
     ❑
     ❑Yes. Fill in the details.

        Describe the property you lost and         Describe any insurance coverage for the loss                      Date of your loss     Value of property lost
        how the loss occurred                      Include the amount that insurance has paid. List pending
                                                   insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about seeking
     bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     ❑No
     ✔Yes. Fill in the details.
     ❑


Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
 Debtor 1                      Rucker                                     Olive                                         Case number (if known)
 Debtor 2                      Kate                                       Olive
                               First Name          Middle Name             Last Name


                                                    Description and value of any property transferred              Date payment or         Amount of payment
         The Chivis Law Firm                                                                                       transfer was made
        Person Who Was Paid                        Attorney’s Fee
                                                                                                                   Jul 25, 2018                         $1,034.00
        16620 San Pedro Avenue Suite 150
        Number      Street




        San Antonio, TX 78258
        City                   State    ZIP Code


        Email or website address


        Person Who Made the Payment, if Not You


                                                    Description and value of any property transferred              Date payment or         Amount of payment
         Money Management International                                                                            transfer was made
        Person Who Was Paid
                                                                                                                   Jul 13, 2018                            $40.00
        9901 West IH 10 #800
        Number      Street




        San Antonio, TX 78230
        City                   State    ZIP Code


        Email or website address


        Person Who Made the Payment, if Not You



17.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
      deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                    Description and value of any property transferred              Date payment or         Amount of payment
                                                                                                                   transfer was made
        Person Who Was Paid



        Number      Street




        City                   State    ZIP Code


18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the ordinary
      course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
      ✔ No
      ❑
      ❑Yes. Fill in the details.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 8
 Debtor 1                     Rucker                                      Olive                                        Case number (if known)
 Debtor 2                     Kate                                        Olive
                              First Name          Middle Name             Last Name


                                                   Description and value of property           Describe any property or payments received       Date transfer was
                                                   transferred                                 or debts paid in exchange                        made

       Person Who Received Transfer


       Number       Street




       City                    State   ZIP Code

       Person's relationship to you


       Person Who Received Transfer


       Number       Street




       City                    State   ZIP Code

       Person's relationship to you

 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
     often called asset-protection devices.)
     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                   Description and value of the property transferred                                            Date transfer was
                                                                                                                                                made


       Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
     funds, cooperatives, associations, and other financial institutions.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                   Last 4 digits of account number         Type of account or         Date account was            Last balance
                                                                                           instrument                 closed, sold, moved, or     before closing or
                                                                                                                      transferred                 transfer

       Name of Financial Institution
                                                   XXXX–                                  ❑Checking
                                                                                          ❑Savings
       Number       Street
                                                                                          ❑Money market
                                                                                          ❑Brokerage
                                                                                          ❑Other
       City                   State    ZIP Code




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
 Debtor 1                     Rucker                                          Olive                                            Case number (if known)
 Debtor 2                     Kate                                            Olive
                              First Name             Middle Name               Last Name



       Name of Financial Institution
                                                      XXXX–                                      ❑Checking
                                                                                                 ❑Savings
       Number       Street
                                                                                                 ❑Money market
                                                                                                 ❑Brokerage
                                                                                                 ❑Other
       City                   State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other valuables?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                        Who else had access to it?                       Describe the contents                            Do you still have
                                                                                                                                                          it?

                                                                                                                                                         ❑No
       Name of Financial Institution                  Name
                                                                                                                                                         ❑Yes

       Number       Street                            Number       Street



                                                      City                   State    ZIP Code

       City                   State    ZIP Code

 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                        Who else has or had access to it?                Describe the contents                            Do you still have
                                                                                                                                                          it?

                                                                                                                                                         ❑No
       Name of Storage Facility                       Name
                                                                                                                                                         ❑Yes

       Number       Street                            Number       Street



                                                      City                   State    ZIP Code

       City                   State    ZIP Code

 Part 9: Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                        Where is the property?                           Describe the property                            Value




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 10
 Debtor 1                      Rucker                                                Olive                                        Case number (if known)
 Debtor 2                      Kate                                                  Olive
                               First Name             Middle Name                     Last Name




        Owner's Name
                                                        Number       Street


        Number      Street

                                                        City                         State   ZIP Code


        City                   State    ZIP Code


 Part 10: Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                        Governmental unit                               Environmental law, if you know it                    Date of notice


        Name of site                                  Governmental unit



        Number      Street                            Number        Street


                                                      City                   State     ZIP Code


        City                   State    ZIP Code


25.   Have you notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                        Governmental unit                               Environmental law, if you know it                    Date of notice


        Name of site                                  Governmental unit



        Number      Street                            Number        Street


                                                      City                   State     ZIP Code


        City                   State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                        Court or agency                                 Nature of the case                                   Status of the case



Official Form 107                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 11
 Debtor 1                       Rucker                                               Olive                                         Case number (if known)
 Debtor 2                       Kate                                                 Olive
                                First Name             Middle Name                   Last Name



        Case title
                                                       Court Name
                                                                                                                                                            ❑Pending
                                                                                                                                                            ❑On appeal
                                                                                                                                                            ❑Concluded
                                                       Number       Street


        Case number
                                                       City                  State    ZIP Code


 Part 11: Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            ✔ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            ❑
            ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
            ❑ A partner in a partnership
            ❑ An officer, director, or managing executive of a corporation
            ❑ An owner of at least 5% of the voting or equity securities of a corporation
     ❑No. None of the above applies. Go to Part 12.
     ✔Yes. Check all that apply above and fill in the details below for each business.
     ❑
                                                          Describe the nature of the business                         Employer Identification number
        OLIVE BOOKKEEPING SERVICE                                                                                     Do not include Social Security number or ITIN.
        Name
                                                         Book Keeping
                                                                                                                        EIN:   6     3 – 5    1     0   8   8   8   1
        10127 CEDARCLIFF
        Number       Street
                                                          Name of accountant or bookkeeper                            Dates business existed


        SAN ANTONIO, TX 78245                                                                                           From                   To
        City                    State    ZIP Code

                                                          Describe the nature of the business                         Employer Identification number
                                                                                                                      Do not include Social Security number or ITIN.
        Name
                                                                                                                        EIN:           –

        Number       Street
                                                          Name of accountant or bookkeeper                            Dates business existed

                                                                                                                        From                   To

        City                    State    ZIP Code

                                                          Describe the nature of the business                         Employer Identification number
                                                                                                                      Do not include Social Security number or ITIN.
        Name
                                                                                                                        EIN:           –

        Number       Street
                                                          Name of accountant or bookkeeper                            Dates business existed

                                                                                                                        From                   To

        City                    State    ZIP Code

 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors, or other
     parties.

     ✔ No
     ❑
     ❑Yes. Fill in the details below.
                                                          Date issued




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
 Debtor 1                    Rucker                                     Olive                                          Case number (if known)
 Debtor 2                    Kate                                       Olive
                             First Name          Middle Name            Last Name




       Name                                       MM / DD / YYYY



       Number       Street




       City                  State    ZIP Code


 Part 12: Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
    correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
    can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



    ✘                        /s/ Rucker Olive                        ✘                           /s/ Kate Olive
        Signature of Rucker Olive, Debtor 1                              Signature of Kate Olive, Debtor 2


         Date 07/30/2018                                                 Date 07/30/2018




    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
    ❑Yes. Name of person                                                                     .          Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                        Declaration, and Signature (Official Form 119).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 13
 Fill in this information to identify your case:

  Debtor 1                   Rucker                                   Olive
                             First Name            Middle Name       Last Name

  Debtor 2                   Kate                                     Olive
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                          ❑Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures a Did you claim the property as
                                                                           debt?                                                     exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                      ❑ No
    name:                 Security Service
                                                                           ❑ Retain the property and redeem it.                           ✔ Yes
                                                                                                                                          ❑
    Description of        2018 NISSAN PATHFINDER N/A                       ✔ Retain the property and enter into a
                                                                           ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:


    Creditor’s                                                             ❑ Surrender the property.                                      ❑ No
    name:                 New Penn Financial
                                                                           ❑ Retain the property and redeem it.                           ✔ Yes
                                                                                                                                          ❑
    Description of        10127 CEDARCLIFF SAN ANTONIO, TX                 ✔ Retain the property and enter into a
                                                                           ❑
    property              78245                                                    Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
 Debtor 1                   Rucker                                       Olive                                         Case number (if known)
 Debtor 2                   Kate                                         Olive
                            First Name            Middle Name             Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                       /s/ Rucker Olive                          ✘                            /s/ Kate Olive
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 07/30/2018                                                    Date 07/30/2018
            MM/ DD/ YYYY                                                     MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
 Fill in this information to identify your case:                                                                      Check one box only as directed in this form and in Form
                                                                                                                      122A-1Supp:
  Debtor 1                   Rucker
                             First Name            Middle Name
                                                                        Olive
                                                                        Last Name
                                                                                                                      ✔1. There is no presumption of abuse.
                                                                                                                      ❑
  Debtor 2                   Kate                                       Olive                                         ❑2. The calculation to determine if a presumption of
  (Spouse, if filing)        First Name            Middle Name          Last Name                                        abuse applies will be made under Chapter 7 Means
                                                                                                                         Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                         Western District of Texas

  Case number
                                                                                                                      ❑3. The Means Test does not apply now because of
                                                                                                                         qualified military service but it could apply later.
  (if known)

                                                                                                                      ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ✔ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ❑
      ❑ Married and your spouse is NOT filing with you. You and your spouse are:
         ✔ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ❑
         ❑Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied
        during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if
        both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                 Column A               Column B
                                                                                                                 Debtor 1               Debtor 2 or
                                                                                                                                        non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                          $700.00                  $1,000.00
    payroll deductions).

 3. Alimony and maintenance payments if Column B is filled in. Do not include payments from a                                 $0.00                       $0.00
    spouse.
 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and roommates.
    Include regular contributions from a spouse only if Column B is not filled in. Do not include
    payments you listed on line 3.                                                                                            $0.00                       $0.00

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1           Debtor 2
                                                                                $0.00           $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -           $0.00   -       $0.00

                                                                                $0.00           $0.00   Copy
      Net monthly income from a business, profession, or farm                                                                 $0.00                       $0.00
                                                                                                        here →

 6. Net income from rental and other real property                       Debtor 1           Debtor 2
                                                                                $0.00           $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -           $0.00   -       $0.00

                                                                                $0.00           $0.00   Copy
      Net monthly income from rental or other real property                                                                   $0.00                       $0.00
                                                                                                        here →

       7. Interest, dividends, and royalties                                                                                  $0.00                       $0.00


 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                        page 1
Debtor 1                                 Rucker                                                          Olive                                                  Case number (if known)
Debtor 2                                 Kate                                                            Olive
                                         First Name                         Middle Name                   Last Name
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation                                                                                                                         $0.00                        $0.00
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................    ↓
           For you....................................................................................                     $0.00
           For your spouse......................................................................                           $0.00
       9. Pension or retirement income. Do not include any amount received that was a benefit                                                               $0.00                        $0.00
          under the Social Security Act.

      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments received
          as a victim of a war crime, a crime against humanity, or international or domestic
          terrorism. If necessary, list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                         +                                   +
                                                                                                                                                        $700.00             +       $1,000.00    =       $1,700.00
       11. Calculate your total current monthly income. Add lines 2 through 10 for each
           column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                      Total current
                                                                                                                                                                                                     monthly income



 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →            $1,700.00

             Multiply by 12 (the number of months in a year).                                                                                                                                        X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.           $20,400.00

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                                   Texas

    Fill in the number of people in your household.                                    2

    Fill in the median family income for your state and size of household....................................................................................................           13.           $63,148.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
        ✔Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
   14a. ❑
          Go to Part 3.
   14b. ❑Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A–2.
 Part 3: Sign Below

       By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


       X /s/ Rucker Olive                                                                                               X /s/ Kate Olive
             Signature of Debtor 1                                                                                            Signature of Debtor 2

            Date            07/30/2018                                                                                       Date           07/30/2018
                         MM/DD/YYYY                                                                                                    MM/DD/YYYY

       If you checked line 14a, do NOT fill out or file Form 122A–2.

       If you checked line 14b, fill out Form 122A–2 and file it with this form.

Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                             page 2
B2030 (Form 2030)(12/15)



                                        United States Bankruptcy Court
                                                  Western District of Texas

In re
Olive, Rucker
                                                                                                        Case No.
Olive, Kate
                                                                                                        Chapter       7

Debtor

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the
      debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                  $1,034.00
      ..

      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                    $1,034.00
      ...

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       $0.00
      .


2.   The source of the compensation to be paid to me was:

          ✔
          ❑     Debtor                              ❑     Other (specify)

3.   The source of compensation to be paid to me is:

          ✔
          ❑     Debtor                              ❑     Other (specify)

4.   ✔ I have not agreed to share the above-disclosed compensation with any other person
     ❑
     unless they are members and associates of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with a other person or
     persons who are not members or associates of my law firm. A copy of the agreement,
     together with a list of the names of the people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects
   of the bankruptcy case, including:

     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor
          in determining whether to file a petition in bankruptcy;

     b.   Preparation and filing of any petition, schedules, statements of affairs and plan
          which may be required;
B2030 (Form 2030)(12/15)




          c.   Representation of the debtor at the meeting of creditors and confirmation
               hearing, and any adjourned hearings thereof;


    6.    By agreement with the debtor(s), the above-disclosed fee does not include the following
          services:




                                           CERTIFICATION
            I certify that the foregoing is a complete statement of any agreement or
         arrangement for payment to me for representation of the debtor(s) in this bankruptcy
         proceeding.

         07/30/2018                       /s/ John Chivis
         Date                                 Signature of Attorney

                                          The Chivis Law Firm
                                             Name of law firm
360 MORTGAGE GROUP LLC
11305 FOUR POINTS BUILDING 1 / SUITE
AUSTIN, TX 78726




BUSINESS & PROFESSIONAL
SERVICE
621 N ALAMO ST
San Antonio, TX 78215



CAPITAL ONE
PO BOX 30285
SALT LAKE CITY, UT 84130




CAPITAL ONE BANK USA NA
10700 Capital One Way
Richmond,, VA 23060




CHASE/BANK ONE CARD
SERV
PO BOX 15298
WILMINGTON, DE 19850



Christus Health
2707 North Loop West Suite 400
Houston, TX 77008-1051




CHRISTUS HEALTH
2707 NORTH LOOP WEST SUITE 400
HOUSTON, TX 77008-1051




CITI CARDS/CITIBANK
PO BOX 6241
SIOUX FALLS, SD 57117
COMENITY BANK/TORRID
PO BOX 182789
Columbus, OH 43218




CREDIT COLLECTION
SERVICES
P.O BOX 55126
BOSTON, MA 02205-5126



CREDIT ONE BANK
PO BOX 98872
LAS VEGAS, NV 89193-8872




Credit Systems International,
Inc.
PO Box 1088
Arlington, TX 76004



DENTAL CARE OF WESTOVER
HILLS
9902 POTRANCO RD, SUITE 109
SAN ANTONIO, TX 78251-9610



DEPT OF EDUCATION/NELNET
121 S 13TH ST
LINCOLN, NE 68508




DEPT OF EDUCATION/NELNET
121 S 13TH ST
Lincoln, NE 68508




DISCOVER FINANCIAL
SERVICES
PO BOX 15316
WILMINGTON,, DE 19850
DISCOVER FINCL SVC LLC
PO BOX 15316
WILMINGTON, DE 19850-5316




EMERGENCY PHYSICIAN
BILLING
PO BOX 203949
DALLAS, TX 75320-3949



First Premier Bank
PO BOX 5519
SIOUX FALLS, SD 57117-5519




Annavette Hernandez
1010 Avocet
San Antonio, TX 78245




LABCORP
P.O BOX 2240
Burlington, NC 27216-2240




LABCORP
3903 Wiseman Blvd #219
SAN ANTONIO, TX 78251




LABCORP
P.O. BOX 2240
BURLINGTON, NC 27216-2240




METHODIST HOSPITAL
134 Menger Springs Rd
BOERNE, TX 78006
NATIONAL CREDIT SYSTEMS
PO BOX 312125
ATLANTA, GA 31131




NATIONAL MEDICAL
PROFESSIONALS
PO BOX 840553
DALLAS, TX 75284-0553



NCO FINANCIAL SYSTEMS,
INC.
2360 CAMPBELL CREEK, STE 500
RICHARDSON, TX 75082



New Penn Financial
P.O. Box 10826
Greenville, SC 29603




PATHOLOGY ASSOCIATES OF
SA
9600 Datapoint D
San Antonio, TX 78229



PEDIATRIX MEDICAL GROUP
PO BOX 120153
GRAND RAPIDS, MI 49528-0103




PSI PREMIER SPECIALTIES
INC
PO BOX 27044
SALT LAKE CITY, UT 84127-0044



QUEST DIAGNOSTICS
P. O. BOX 7306
HOLLISTER, MT 65673-7306
River City Imaging Associates
700 N Saint Mary's #1400-50
SAN ANTONIO, TX 78205




Security Service
8300 Culebra Rd
SAN ANTONIO, TX 78251




SECURITY SERVICE FCU
16211 LA CANTERA PKWY
SAN ANTONIO, TX 78256




STAR ANESTHESIA PA
3510 N Loop 1604 E
San Antonio, TX 78247




SYNCB/CONNS
C/O P.O. BOX 965036
ORLANDO, FL 32896




SYNCB/PAYPALEXTRASMC
PO BOX 965005
ORLANDO, FL 32896-5005




SYNCB/ROOMS TO GO
C/O P.O. BOX 965036
ORLANDO, FL 32896




Victoria Emergency Partners
LLC
PO BOX 203949
DALLAS, TX 75320-3949
VICTORIA EMERGENCY
PARTNERS LLC
PO BOX 23419
JACKSONVILLE, FL 32241-4419



VILLAS DE LA CASCADA
APTS
7770 Pipers Ln
San Antonio, TX 78251
                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                            WESTERN DISTRICT OF TEXAS
                                                               SAN ANTONIO DIVISION

IN RE: Olive, Rucker                                                                         CASE NO
       Olive, Kate
                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       07/30/2018              Signature                                       /s/ Rucker Olive
                                                                                 Rucker Olive, Debtor


Date       07/30/2018              Signature                                         /s/ Kate Olive
                                                                                Kate Olive, Joint Debtor
